FILED

IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY,
PENNSYLVANIA

CHRISTINE BIROS, Case No. 17 CJ 04886
Plaintiff,
VB. U LOCK ING.’s MOTION TO
CORRECT AND/OR STRIKE
ERRONEOUS CAPTION
U LOCK INC.
Defendant.

Filed on behalf of:

U LOCK IN C., Defendant,
we Counsel of record for this party:
or ~~
BS = J. Allen Roth, Esq. (PA 30847)
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IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY,

PENNSYLVANIA
CHRISTINE BIROS, ) Case No. 17 CJ 04886
)
Plaintiff, )
)
Vs. )
)
U LOCK INC., )
)
Defendant. )

DEFENDANT U LOCK INC'S MOTION TO CORRECT AND/OR STRIKE
ERRONEOUS CAPTION.

 

Defendant U Lock Inc., by and through its counsel, J. Allen Roth, files this Motion
to Correct and/or Strike Erroneous Caption:

1. At the hearing on April 29, 2022, this Court directed U Lock and its counsel
to file a motion and proposed Order to correct the caption in this case.

4. Defendant and counsel apologize for the confusion as it occurred simply
because a prior template was used. Counsel notes that it did not occur as to
the filings on April

3. Defendant notes that the Prothonotary’s docket also shows all of the parties
to the case notwithstanding the amendment of the caption, See Docket
Sheet, attached. It is up to this Court whether to direct the Prothonotary to
modify the docket sheet,

WHEREFORE, Defendant U Lock respectfully requests that this Court enter the

appropriate Order as directed.
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Respect fully submitte
Jj Allen Roth, Esq (
wh

ATTORNEY FOR U LOCK INC.
IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY,

PENNSYLVANIA
‘CHRISTINE BIROS, ) Case No. 17 CJ 04886
)
Plaintiff, }
)
Vs, )
)
U LOCK INCG., )
)
Defendant. )
ORDER

AND NOW, this ___ day of May, 2022, upon the consent of the defendant and the
motion to correct or strike, it is hereby ORDERED, ADJUDGED, and DECREED that the
Prothonotary is directed to strike off the reference in the caption on the filings of U Lock
on March 17, 2022 (Motion to Strike and Exhibits in Support) as to parties other than

Christine Biros and U Lock Ine.

By the Court;

 

Judge, Court of Common Pleas
EXHIBIT A - TEXT OF PROTHONOTARY DO CKET FOR THE CASE

Case Information

Case# Caption Reference File Judgment Amt Filed Date Case
Type/Subtype Status Judge

17CJ04886 CHRISTINE BIROS INDIVID VS. U LOCK INC

Jan/24/2018 LIS PENDENS NEW FILE ACTIVE Rita Donovan Hathaway
Parties

Party Type Name Address

DEFENDANT ATTY DENNIS D DEL COTTO 4345 OLD WILLIAM PENN HWY,
MURRYSVILLE , PA, 15668

DEFENDANT ATTY J ALLEN ROTH 8058 ALEXANDRIA STREET , LATROBE
, PA, 15650

DEFENDANT ATTY JOHN A TUMOLO 437 GRANT STREET , PITTSBURGH , PA,
15219

DEFENDANT DENISE SCHUR /EXEC 8700 CLEVELAND ROAD, CRESTON, OH,
44217, USA

DEFENDANT ALEX SCHUR /ESTATE

PLAINTIFF ATTY WILLIAM E OTTOPO BOX 701 , MURRYSVILLE , PA, 15668
PLAINTIFF CHRISTINE BIROS ANDIVID 435 MILLERS LAN K, PLUM, 15239
DEFENDANT HENRY L MOORE /CO EXEC 310 KEYSTONE COMMONS 35
WEST PITTSBURGH STREET, GREENSBURG, PA, 15601, USA

DEFENDANT SUSAN STANO /CO EXEC 31856 LAKE DRIVE, AVON LAKE,
OHIO, 44012, USA

DEFENDANT NICHOLAS SCHUR /ESTATE

DEFENDANT KATHLEEN S WALTER /EXEC 3 RIDGE COURT, SARATOGA
SPRINGS, NY; 12866, USA

DEFENDANT MICHAEL SCHUR /ESTATE

DEFENDANT CYNTHIA SARRIS /ADMIN 14249 HILAND PLACR, IRWIN, PA,
15642, USA

DEFENDANT ANN SARRIS /ESTATE

‘DEFENDANT U LOCK INC 14140 ROUTE 80, NORTH HUNTINGDON, PA,
15642, USA

Events

Action Date Action Description Action Name View Document

Apr/25/2022 BRIEF IN OPPOSITION TO MOTION FOR SANCTIONS View

Apr/21/2022 PRELIMINARY OBJECTIONS DEFT U LOCK INCS PRELIMINARY

OBJECTIONS RAISING ISSUES OF FACT TO THE PETITION FOR WRIT OF

POSSESSION View

Mav/18/2022 ORDER PENDING SUPRME COURT OF PA WESTERN DISTRICT
. View

Mar/17/2022 EXHIBITS IN SUPPORT OF PETITION TO STRIKE ORDER OF

JANUARY 20 2022 AS SET FORTH View

Mar/17/2022 MOT/PET STRIKEPETITION TO STRIKE ORDER OF JAN 20 2022 AS

SET FORTHView

Jan/24/2022 ORDER ORDER JANUARY 20, 2022 NOTICE GIVEN RULE N236

View
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CERTIFICATE OF SERVICE
I certify that I mailed a true copy of the foregoing to the following parties on, this

12th day of May, 2022:

William E. Otto, Esq.

PO Box 701
Murrysville, PA 15668

Dennis D. Del Cotto, Esq, (courtesy only)
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William F. Ross, Esq. (courtesy only)
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John Tumolo, Esq. (courtesy only)
Suite 1500, Frick Building
Pittsburgh, PA 15219

Hon. Harry F Smail

Court of Common Pleas

2 N Main Street, Courtroom 2
Greensburg PA 15601

 

 
